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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                         CR. NO. 17-00582 JMS/RLP

                    Plaintiff,                    ORDER AFFIRMING
                                                  MAGISTRATE JUDGE ORDER
      vs.                                         DENYING DEFENDANT
                                                  GORDON SHIRAISHI’S MOTION
GORDON SHIRAISHI,                  (05)           FOR BILL OF PARTICULARS,
                                                  ECF NO. 256
                    Defendant.


     ORDER AFFIRMING MAGISTRATE JUDGE ORDER DENYING
     DEFENDANT GORDON SHIRAISHI’S MOTION FOR BILL OF
                 PARTICULARS, ECF NO. 256

                                 I. INTRODUCTION

             On June 14, 2018, Magistrate Judge Richard L. Puglisi entered an

Order denying Defendant Gordon Shiraishi’s (“Defendant”) Motion for a Bill of

Particulars (“June 14 Order”). ECF No. 256. On June 28, 2018, Defendant filed

an appeal to this court. ECF No. 258.

             For the reasons discussed below, the court AFFIRMS the June 14

Order.

                           II. STANDARD OF REVIEW

             Under 28 U.S.C. § 636(b)(1)(A), Federal Rule of Criminal Procedure

59(a), and Criminal Local Rule 57.3(b), a district judge may set aside a magistrate

judge’s nondispositive order, including a motion for a bill of particulars, if it is
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“clearly erroneous or contrary to law.” United States v. Tirado, 2018 WL

1806056, at *1 (E.D. Wis. Apr. 16, 2018); United States v. Orrock, 2017 WL

6421328, at *1 (D. Nev. Dec. 14, 2017); United States v. Hee, 2015 WL 3440047,

at *1 (D. Haw. May 28, 2015).

               The threshold of the “clearly erroneous” test is high and significantly

deferential. “A finding is ‘clearly erroneous’ when although there is evidence to

support it, the reviewing court on the entire evidence is left with the definite and

firm conviction that a mistake has been committed.” United States v. U.S. Gypsum

Co., 333 U.S. 364, 395 (1948); United States v. Mercado-Moreno, 869 F.3d 942,

959 (9th Cir. 2017).

                                    III. BACKGROUND

               On April 17, 2018, Defendant filed his Motion for Bill of Particulars,

seeking: (1) the identity of all alleged co-conspirators as to count 1; and (2) the

overt acts committed by Defendant, along with the date that he entered the

conspiracy, as to counts 1, 6, and 8.1 ECF No. 204. The United States filed an

opposition on April 30, 2018, ECF No. 222, and a hearing was held on June 13,

2018. ECF No. 255. The June 14 Order denied the motion, finding that




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          Although Defendant initially also sought a bill of particulars as to counts 5 and 7,
those counts were dismissed on June 4, 2018. EFC No. 252.


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Defendant has been adequately advised of the charges against him, and that the

United States has provided full discovery. June 14 Order at 2.

               Defendant filed a timely appeal to this court, and the United States

filed a reply on July 9, 2018. ECF Nos. 258, 261.2 Pursuant to Local Rule 7.2(d),

the court finds this matter suitable for disposition without a hearing.

                                      IV. DISCUSSION

A.     Legal Standard

               Federal Rule of Criminal Procedure 7(f) provides for a bill of

particulars:

               The court may direct the government to file a bill of
               particulars. The defendant may move for a bill of
               particulars before or within 14 days after arraignment or
               at a later time if the court permits. The government may
               amend a bill of particulars subject to such conditions as
               justice requires.

               A bill of particulars serves three purposes: (1) to inform the defendant

of the nature of the charges against him with sufficient precision to enable him to

prepare for trial; (2) to avoid or minimize the danger of surprise at the time of trial;

and (3) to protect against double jeopardy. United States v. Ayers, 924 F.2d 1468,




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          In addition to reviewing the briefing, the court also listened to the audio recording of
the hearing before Magistrate Judge Richard L. Puglisi on June 13, 2018. ECF No. 255.


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1483 (9th Cir. 1991). “A defendant is not entitled to know all the evidence the

government intends to produce but only the theory of the government’s case.”

United States v. Ryland, 806 F.2d 941, 942 (9th Cir. 1986). A bill of particulars is

not warranted to obtain the names of unknown co-conspirators, the exact nature of

overt acts, or the precise timing of the alleged conspiracy. United States v.

DiCesare, 765 F.2d 890, 897 (9th Cir.), amended, 777 F.2d 543 (9th Cir. 1985).

The government may add clarity to the allegations through discovery, and full

discovery “obviates the need for a bill of particulars.” United States v. Giese, 597

F.2d 1170, 1180 (9th Cir. 1979).

B.     Analysis

             The June 14 Order was not clearly erroneous. First, defendant seeks

the very sort of information (names of co-conspirators, date that he joined the

conspiracy, and a list of overt acts) which is not generally subject to a bill of

particulars. DiCesare, 765 F.2d at 897 (“DiCesare and Flannery requested a bill

for three reasons: (1) to obtain the names of any unknown coconspirators; (2) to

determine the exact date on which the conspiracy allegedly began; and (3) to

delineate all other overt acts that comprised the charged activity. These reasons,

however, do not warrant a bill of particulars.”). Second, the First Superseding

Indictment makes clear the theory of all the counts against Defendant, including




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the two Pinkerton counts (counts 6 and 8). And finally, counsel for the United

States has represented that all known discovery has been provided in full.

              It appears to the court that Defendant is simply seeking more

discovery, or perhaps arguing that there is insufficient evidence to convict.

Neither, however, is a valid basis to grant a bill of particulars. Defendant has all

the information that he needs to enable him to prepare for trial, to avoid or

minimize the danger of surprise at trial, and to protect against double jeopardy.

                                   V. CONCLUSION

              Based on the foregoing, the court AFFIRMS the June 14, 2018 Order.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, July 10, 2018.



                                            /s/ J. Michael Seabright
                                           J. Michael Seabright
                                           Chief United States District Judge




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Denying Defendant Gordon Shiraishi’s Motion for Bill of Particulars, ECF NO. 256




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